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IN THE UNITED STATES DISTRICT COU'RT "'_" ' ‘

 

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UNITED STATES oF AMERICA, W/Djptu€glm

Plaintiff,
vs. CR. NO. 04-20503-01-Ma

BRUCE BARNHI LL ,

Defendant.

 

ORDER

 

Before this court is defendant'S Motion For Review of
Conditions of Detention, filed August 10, 2005. For good cause
shown, the motion is granted and defendant may be admitted to the
“CAPS” Program through New Directions.

ENTERF..D this the 'q&day of August, 2005.

_)4/”1//,_

SAMUEL H. MAYS, JR.
UN'ITED STATES DISTRICT JUDGE

 

This doctment entered on the docket s eeti co_m |iance
with Rt:le 55 and/or 321b) FRCrP on i" ii §

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This notice confirms a copy of the document docketed as number 57 in
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Honorable Samuel Mays
US DISTRICT COURT

